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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

YOUNG AGAIN PRODUCTS, INC., ) CASE NO: 07-3019-H4-ADV
Plaintiff, Houston, Texas
vs. ; Monday, June 23, 2008
SUPPLEMENT SPOT, LLC., ET AL., (2:12 p.m. to 3:12 p.m.)
Defendants. '

 

#174 - MOTION FOR LEAVE TO AMEND

BEFORE THE HONORABLE JEFF BOHM,
UNITED STATES BANKRUPTCY JUDGE

Appearances: See next page

Courtroom Deputy: Vangie Attaway

Court Recorder: Pat Williams

Transcribed by: Exceptional Reporting Services, Inc.

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Corpus Christi, TX 78418-5940
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Proceedings recorded by electxonic sound recording;
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APPEARANCES FOR:
— ee

Plaintiff: MARGARET M. McCLURE, ESQ
2 Houston Center
909 Fannin, Suite 3810
Houston, TX 77010

John Acord: ROB EVAN SINGER, ESQ
4550 Post Oak Place, Suite 175
Houston, TX 77027

Ben Floyd, Trustee: RANDALL RIOS, ESQ
Munsch Hardt Kopf & Harr
700 Louisiana, Suite 4600
Houston, TX 77002

 

 

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Houston, Texas; Monday, June 23, 2008; 2:12 p.m.
(Call to Order)

THE COURT: All right. Next up is the adversary
proceeding 07-3019. It’s Young Again Products, Inc.,
Plaintiff, versus Supplement Spot, LLC, et al., defendants.

Let me go ahead and get appearances from counsel
first, please.

MS. MCCLURE: Good afternoon, your Honor. Margaret
McClure, M~c-C-l-u-r-e, on behalf of the plaintiff, Young Again
Products, Inc.

THE COURT: Thanks.

MR. RIOS: Good afternoon, Judge. Randy Rios
appearing on behalf of Ben Floyd, Chapter 11 Trustee.

THE COURT: Thanks, Mr. Rios.

MR. SINGER: Good afternoon, Judge. I’m Rob Singer,
S-i-n-g-e-r. I’m here on behalf of Marcella Ortega, and I’m
also here on behalf of John Accord on a limited basis.

THE COURT: Thanks.

MR. SINGER: Thank you, Judge.

THE COURT: I think I have gotten, Mr. Singer, a
motion for you to appear by telephone, which I granted, but I’m
happy to see you face to face in the courtroom.

MR. SINGER: Your Honor, there was a hearing in San
Antonio that was cancelled at the last minute.

THE COURT: Okay. Let’s see; what I’ve got before me

 

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is defendant John Accord’s motion for leave to file first
amended answer and counterclain. And then I’ve got Young Again
Products, Inc.’s Opposition to John Accord’s motion for leave
to file amended answer and counterclaim.

Let me ask: Is there anyone on the phone?

MR. SINGER: No, your Honor. However, I think, and
I’m not sure if this would be considered by the Court today or
not, but I think Mr. Izen has filed a motion to appear pro hac
vice and wanted the opportunity to present that to the Court by
phone.

THE COURT: I’ve actually read the motion and I’ve
also read the objection. I do not feel comfortable granting
that motion, Mr. Singer, because as I read the Local Rules, and
I think it was my May 16 order; as I read the District Court
Local Rules, Mr. Izen has to cease practicing law until he
files the appropriate documentation with our Chief Judge, who
in this case is Chief District Judge Haden Head, and then Judge
Head, as the Local Rules Say, Can assign it out to another
District Court. And, you know, the process needs to be
effectuated in that respect.

I did note that I think it was District Judge Hughes
allowed Mr. Accord to appear in a criminal action pending
before Judge Hughes, which is entirely within Judge Hughes’
discretion. I think, nowever, there is a -- Let me say

District Judge Hughes is an Article Three Judge and is dealing

 

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with criminal actions. And I think the difference between
what’s going on up in his courtroom and what’s going on down in
my courtroom is, one, I’m not dealing with criminal actions and
there’s no question I think, when you’re talking about a
Criminal action against somebody, I think the argument is most
compelling that that someone needs an attorney, so I can
understand why District Judge Hughes allowed Mr. Izen to
appear.

And then secondly, District Judge Hughes is an
Article Three Judge, which means, at least in my mind, the
District Court’s Local Rules, I mean I think an argument can be
made to a certain extent that because he is a District Judge,
it’s as if Judge Head, at least for that particular case,
defers to his colleague Judge Hughes and lets Judge Hughes make
the decision.

He might make the same argument for me except I’m an
Article One Judge, and since these Rules are promulgated by the
District Court and since I am a unit of the District Court,
that’s what an Article One Judge is in my case, I am just
uncomfortable granting the relief that Mr. Izen has requested
because it seems to me that would almost ~- it would be in
effect my usurping Chief District Judge Head’s powers to take
the appropriate actions and effectuate the process that is
Supposed to take place under the District Court, the applicable

District Court Local Rule.

 

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So, I’m going to go ahead and enter an order denying
the motion to appear pro hac vice. And I regret having to do
so, but I think that Mr. Izen needs to go with the process that
is afforded to him by the District Court Local Rule. So, I
will go ahead and do an order to that effect.

Mr. Singer?

MR. SINGER: If I could make one comment, your Honor?

THE COURT: Sure.

MR. SINGER: And I feel I’m in kind of a funny
position here because in a sense this isn’t my fight or my
motion; in a sense it is because there’s a joint effort here on
behalf of the defendants in this matter that is very
substantial.

And the way -- I'm qualifying this by Saying that I
haven’t researched the law. My take, when I first learned of
Mr. Izen’s intention to file the motion to appear pro hac vice,
two things crossed my mind. One was I took it as a motion that
would be filed by me to appear in a court in Connecticut; that
kind of a thing where if I fulfilled the basics of that court’s
-- the Connecticut court’s -- criteria to allow a foreign
attorney to practice before it, then it made sense to me. It
made sense.

The other thing that occurred to me -- that initially
occurred to me, flasned in front of me when I learned of the

intention to file this motion was that under the principles of

 

 

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just equity and fairness, it seems to me that there is a
compelling purpose, if the Court were to feel comfortable
allowing Mr. Izen to appear, there is a compelling purpose that
would be dictated I think by equity and fairness, and that is
that Mr. Accord, as the Court knows, is fighting lawsuits in
three jurisdictions and it’s been a very expensive, tedious
course for everybody in this matter. And to restrict or impede
Or prohibit Mr. Izen from representing him after Mr. Izen has
been on board for as long as he has and has become as familiar
as he has with the case and is as articulate about the case as
he is, to impede that or prohibit that seems to me to be -- to
work a substantial injustice in this case.

THE COURT: Mr. Singer, let me respond. I can’t
speak for the action going on, I think you referenced up in
Connecticut? Did I mishear you?

MR. SINGER: I was just Saying, your Honor, that if I
were to file a motion to appear pro hac vice in some other
jurisdiction, Connecticut --

THE COURT: Anywhere.

MR. SINGER: -- Pennsylvania or California --

THE COURT: Okay.

MR. SINGER: -- that I thought that Mr. Izen’s
circumstances, as I understood them, would not prohibit --
let’s say him instead of me -- from filing a motion to appear

Pro hac vice in Pennsylvania or Wyoming or some other

 

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jurisdiction such as that.

THE COURT: Let me respond to your point. When I
have out-of-state attorneys file motions for Pro hac vice in my
court, the first thing I ask them is: ‘Are you in good standing
in the federal District Court where you practice?’ In other
words, if someone from the Western District of Pennsylvania or
from the District of Connecticut were to file a motion in my
court asking to appear Pro hac vice, my first question to them
would be: ‘Are you licensed in the United States District Court
for the District of Connecticut?’ Answer: ‘Yes.’ ‘And are you
in good standing in that court?’ Answer: ‘Yes’. Then I’m very
comfortable granting the motion.

If on the other hand the answer I get is ‘No, I’m not
in good Standing’, then I’m going to be extremely uncomfortable
granting a motion for pro hac vice down here because if
something has gone up in the District Court where that person
has been Practicing, I need to be asking myself seriously why
should I allow that attorney to appear in this court.

So here I’ve got it even one step further. I’ve got
Mr. Izen; the Local Rules of the United States District Court
for which I’m bound to enforce, that’s my oath, say that, as I
Said in my May 16™ order, is that when he’s suspended or
disbarred, he must cease Practicing in the Southern District of
Texas and then must file the appropriate papers, and it goes to

Chief District Judge Haden Head.

 

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If I start allowing attorneys who under the Local
Rules must cease practicing law because they’ ve been disbarred
Or suspended, if I then allow them to practice pro hac vice on
a particular case in order to do an end run around the Local
Rule, I think the Local Rule has no power and no force and
effect, and, you know, the last thing I’m going to do is want
to violate a District Court Local Rule for the Southern
District of Texas that Says the Chief Judge, Haden Head, or, if
Judge Head was not the Chief Judge, anyone who is Chief Judge,
that’s the person who is supposed to take what has happened
with Mr. Izen and make a decision as to what to do, and I don’t
feel that I should infringe upon that, and I think I would be
violating the Local Rule if [I did and be usurping the Article
Three Court’s power to take whatever action is appropriate.
That’s my first response to you.

My second response to you is in this particular case,
if I recollect correctly, Mr. Accord did have someone other
than Mr. Izen as his initial counsel, and, if I recollect
correctly, that counsel withdrew. Mr. Accord then represented
himself for some time, and then he brought on Mr. Izen.

Unfortunately, when you choose an attorney, I mean
you need to make sure that that attorney is in good standing,
Particularly in this case which has been on my docket for some
time. This adversary has been on my docket for some time. I

can’t -- how to describe -- Simply sit back and say, well, all

 

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right, this is okay. I'll entertain further delays because Mr.
Accord’s second attorney has run afoul of the District Court
for being reprimanded or Suspended or disbarred. And as I
understand it, what he got was a suspension that’s been
probated.

So, you know, given the length of this particular --
the fact that it’s been on my docket a long time and that Mr.
Accord had an attorney to begin with, someone other than Mr.
Izen, I don't see the extenuating circumstances that might be
existent if this case were a month old -- this adversary were a
month old and Mr. Izen, or two months old and Mr. Izen had come
on board from day one and then, woops, we discovered that he’s
been suspended, even if it’s a probated suspension, I think
it’s somewhat of a different kettle of fish.

And then, as I said before, this isn’t a criminal
action. And I can understand why District Judge Hughes, for
the particular lawsuit in front of him, might have concluded,
‘Gee, we need to have Mr. Izen Stay on board.’ But, as I said
once again, that was because in my mind, I differentiate
strongly between a criminal action where someone’s freedom is
at stake for a long time and a bankruptcy case, first point.

And the second point is, as I said, again I
distinguish between District Judge Hughes who’s an Article
Three Judge, and myself who’s an Article One Judge. I ama

unit of the District Court and I don't think I ought to be

 

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making decisions that under the Local Rules are to be made by
the District Judges.

And, you know, if Chief Judge Head, after he reviews
Mr. Izen’s papers, decides he wants to refer it to me, which I
think, if I recollect under the most recent revisions of the
applicable Local Rule, he can do; that is, refer it to an
Article One Judge, fine, but unless and until Judge Head does
that, I just do not feel comfortable granting Mr. Izen’s motion
to appear pro hac vice on this matter,

So, I understand your argument; I just disagree with
you, and that’s where I’m at right now.

To the extent that you want to represent -- [I
certainly have no problem with you representing Mr. Accord for
solely today’s hearing. If you decide you want to represent
him going forward, I’ll certainly allow you to do so. At least
right now, given what I know about this case and given what
I’ve seen, it strikes me that his interests and the interests
of the other defendants are aligned, so I don't see a conflict
of interest in you representing both Mr. Accord’s mother as
well as Mr. Accord and Supplement Spot, LLc.

Obviously, there’s always a risk that whenever you’ re
representing multiple parties, a conflict can break out and the
consequences that flow there from, but right now, I don't have
a problem with you representing Mr. Accord in addition to your

existing representation. I don't have a problem with Mr.

 

 

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Accord getting new counsel, but I am just unwilling to allow
Mr. Izen to appear pro hac vice. I will take directions from
my Chief Judge or from any District Judge who my Chief Judge
appoints. Or, as I said, if Chief District Judge Head wants to
refer the matter to me and let me handle it, then I’ll do so.
But, that’s where I stand right now.

MR. SINGER: And I think part of the problem, your
Honor, and I understand what the Court is saying, I think part
of the problem is that with regard -- And it’s my understanding
that Mr. Izen has filed the necessary papers but unfortunately,
there seems to be no specific time or timing for that to be
considered and ruled upon. And of course, the ticker on this
case continues to tick, and so that --

THE COURT: I can only, you know -- Again, I have no
doubt that Chief Judge Head, you know, he has his own docket.
As Chief Judge, he has a lot of administrative duties. I
cannot speak for what Judge Head has on his plate right now or
the order or priority that he has.

Obviously, part of the problem of running afoul of
the grievance committee of the State Bar of Texas is
consequences flow from being suspended or being disbarred or
having a probated suspension. And obviously, anyone who
appears in the Southern District knows that if they run afoul,

they read the Local Rules, that they can lose their right to

 

practice here, and that’s what’s happened.

 

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And I don't have any doubt that Judge Head will at
some point in time in the future take the appropriate action,
but until he does, I don’t feel that there’s anything I can do
other than comply with the Local Rule, which is why I issued my
May 16° order which said he must cease practice. Okay?

MR. SINGER: Okay, your Honor. Thank you.

THE COURT: Thanks.

We now get to Young Again Products, Inc.’s -~ Well,
we now get to John Accord’s motion for leave to file amended
answer and counterclaim and Young Again Products’ opposition to
John Accord’s motion for leave to file amended answer and
counterclaim.

Mr. Singer, is that one that you want to argue or do
you want Mr. Accord to argue it?

MR. SINGER: Your Honor, I’ll go ahead and argue
that.

THE COURT: All right. Please.

MR. SINGER: If [ may, your Honor?

THE COURT: And let me Say I have read the pleadings
and the attachments, so I think I’m familiar, but obviously I

want to hear the oral arguments. There may be something I’m

 

missing.
MR. SINGER: Did you get the legal authority that was
filed this morning?

THE COURT: I did.

 

 

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MR. SINGER: Okay.

Your Honor, then quite simply - If I may proceed?

THE COURT: Please.

MR. SINGER: Quite simply, as the Court is aware,
this is a motion to amend Mr. Accord’s answer and to file a
counterclaim on his behalf. And the basis, the main basis of
the motion has to do with discovery and discovery that either
was slow in forthcoming or incomplete but did come forth.

And --

THE COURT: Can I ask you a question?

MR. SINGER: Yes, your Honor.

THE COURT: When I read your pleading, is it your
position that Young Again Products, Inc. has not produced
documents that it should have produced?

MR. SINGER: Yes, your Honor.

THE COURT: Can you tell me what documents you
believe should have been produced pursuant to past orders that
I’ve issued that have not been produced?

MR. SINGER: Generally, I will say this to the Court.
There was no financial -- There were no records of financial
harm substantiating financial harm that were produced by the
plaintiff.

THE COURT: In other words, the plaintiff has
produced no records to you evidencing the financial harm it has

incurred from any actions taken by the defendants?

 

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MR. SINGER: Correct, your Honor.

THE COURT: All right. That’s one category. What
else?

MR. SINGER: The plaintiffs have also submitted what
I believe is a fairly extensive privilege log to the Court
which we question whether or not those items are privileged or
not. And I think until the Court is able to have the time --
take the time to review the documents in that log, that issue
remains open.

THE COURT: Okay.

MR. SINGER: And we feel that there’s probably a fair
amount. This is nothing but Supposition, your Honor, at this
point, but we feel there’s a fair amount of information in that
log that may not be privileged and may be very relevant to the
case.

THE COURT: Okay. What else?

MR. SINGER: Your Honor, basically what the plaintiff
produced in terms of discovery was things that we already had
that we already produced to them. Very little else; very
little else. And at the time that all this transpired with Mr.
Izen’s prohibition, there will be a forthcoming motion for
sanctions based on that discovery, or the absence of it.

THE COURT: Okay. And so your argument is you ought
to be allowed to amend on the grounds of discovery abuse?

MR. SINGER: Plus new information, your Honor, that

 

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was derived when Mr. Rios produced to Mr. Izen production that
he received from the plaintiff.

THE COURT: Take me through that.

MR. SINGER: There was information relating to
communication, and Mr. Accord might be better able to enunciate
this because I wasn’t part of that loop, but it’s my
understanding that there was information produced to Mr. Rios
showing Mr. Mason’s continued efforts to disparate Mr. Accord
and to slander his name.

THE COURT: All right. Can I see those documents?

Do you have them with you?
MR. SINGER: No, your Honor, I don’t.
(Pause - Mr. Singer confers with Mr. Accord)
THE COURT: They’re in his car?
(No audible response)

THE COURT: Let’s take a break. I want you to go get
those documents so that I can see them.

MR. SINGER: Well, actually -- Well, I got --

THE COURT: While he’s looking for them, because it
looks like he’s pulled some documents out of his briefcase, let
me go back to you, Mr. Singer. Is the sole basis of your
motion -- of Mr. Accord’s motion for leave to amend -- the sole
basis being is that the plaintiff has abused discovery?

(No audible response)

THE COURT: Do you understand my question?

 

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MR. SINGER: Yes, your Honor. It’s based on
discovery. It’s based on information that was produced that
gives rise to addition allegations and causes of action that
the defendant should be able to assert.

THE COURT: Now wait a minute, wait a minute. Let me
try my question again. You’re saying -- Mr. Accord is Saying
the plaintiff has not produced documents, right?

MR. SINGER: Correct.

THE COURT: And therefore, he is saying because the
plaintiff has not produced documents, I ought to be able to
have leave of court to amend to sue the plaintiff ina
counterclaim. Am I right?

MR. SINGER: Correct.

THE COURT: Does he have any documents on which to
base that counterclaim that were produced by the plaintiff?

MR. SINGER: It’s my understanding that in the
documents that were produced, and Mr. Rios’ answer to that is
‘Yes’,

THE COURT: The documents that Mr. Rios gave to him?

MR. SINGER: Correct.

THE COURT: I’m asking about the plaintiff's though.
Are there any documents the plaintiff gave to him? Forget
about Mr. Rios. Pretend Mr. Rios didn’t even exist and that
the Trustee didn’t even exist. Are there any documents that

the plaintiff gave to Mr. Accord that he is using in order to

 

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justify his request to file an amended answer and counterclaim?

MR. SINGER: I understand, your Honor. My response
to that is ‘No, other than possibly the documentation that was
submitted to you under the attorney-client -- or the privilege
log.

THE COURT: Okay. Which hasn’t been produced to you?

MR. SINGER: Correct; which has not.

THE COURT: Okay. Okay.

MR. SINGER: But which presumably is in the Court’s
possession at this point.

THE COURT: Okay. All right.

What else? Any other arguments you want to make?

MR. SINGER: No, your Honor, other than the matters
submitted under the legal authorities about the criteria to be
considered in allowing an amendment, which include the Smith
ruling that amendments should be allowed even up until the time
of the pretrial conference.

THE COURT: Mr. Accord, do you have in your
possession the documents that Mr. Singer was referring about
that Mr. Rios gave to you?

MR. ACCORD: Yes, your Honor. I have basically the
analysis that was prepared of the documents which we received
from Mr. Mason, okay.

THE COURT: Now Mr. Accord, I want you to listen to

my question again.

 

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MR. ACCORD: Yes.

THE COURT: Mr. Rios gave you some documents. Am I
right?

MR. ACCORD: That is correct, sir.

THE COURT: All right. Mr. Singer represented to me
that it’s those documents that you are using, at least in part,
to justify your request to be able to file an amended pleading
to sue Young Again Products.

MR. ACCORD: That is correct, sir.

THE COURT: Do you have those documents that Mr. Rios
produced to you in your possession right now?

MR. ACCORD: No, I do not have those documents.

THE COURT: Where are those documents?

MR. ACCORD: Those documents are in a box sitting in
my office.

THE COURT: Okay. Tell me --

MR. ACCORD: I didn’t realize we were -- that this
would be an issue today.

THE COURT: Okay. What documents do you have with
you here today?

MR. ACCORD: Okay. JI have an analysis of the
documents that we received from the plaintiff pursuant to your
order of May the 274, okay, which were produced on May the 16°,
You said that they were to be produced immediately; then you

gave them two weeks to produce them. And I have this analysis

 

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that I did for Mr. Izen and Mr. Singer, and I’ve reviewed it
with Mr. Izen but not with Mr. Singer. And, you know, they’ re
not really in a proper form to present to the Court because we
thought the matter today was going to be limited to the motion
to amend.

But, after Mr. Izen reviewed the documents that the
Plaintiff gave to Mr. Rios in response to Mr. Rios’ subpoena,
that was many months afterwards, Mr. Izen came to the
conclusion that the documents that he had received from the
plaintiff via Mr. Rios did not Support their claims.

THE COURT: So Mr. Singer, presumably that would mean
that Mr. Accord would be filing a motion for summary judgment
as to the claims that Young Again has brought against the
defendants?

MR. SINGER: I think there’s a pending motion, your
Honor.

THE COURT: Got you, okay. There is. I just wanted
to make sure we follow that train of thought. That doesn’t go
to the counterclaim that Mr. Accord seeks to file. All right.

Ms. McClure, let me hear -- Anything else, Mr.
Singer, that you wanted to argue?

MR. SINGER: Not at this time, your Honor.

- THE COURT: All right, thanks.

Ms. McClure?

MS. MCCLURE: Yes, your Honor, very briefly for the

 

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Court.

First of all, the documents that John Accord or Mr.
Izen -- In fact, really Mr. Singer received from the plaintiff
on May 16°. Their motion to amend their answer and to add a
counterclaim was actually filed on May 5°*®, eleven days prior
to receiving the documents from the plaintiff. I just want the
Court to realize that time line.

THE COURT: Well, and as I understand it, what Mr.
Singer and Mr. Accord are Saying is, none of the documents they
got from Young Again Products was helpful to them; that the
documents they are relying upon to justify their desire to file
an amended pleading or the counterclaim are documents that
they’ve gotten from Mr. Rios.

Have I got that right, Mr. Singer?

MR. SINGER: Your Honor, that’s correct in the time
line-wise because I questioned that myself. Time line-wise,
that coincides with the May 5° filing.

THE COURT: Okay.

MS. MCCLURE: And those were also -- I mean those
were documents produced by plaintiff, your Honor.

THE COURT: All right. Now, let’s go over that.

MS. MCCLURE: Okay.

THE COURT: Are you telling me that whatever
documents Mr. Rios provided to Mr. Accord, that every single

document that Mr. Rios provided to Mr. Accord was also provided

 

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by Young Again Products to Mr. Accord?

MS. MCCLURE: They were produced by the -~ Yes, your
Honor, they were produced by Young Again Products to Mr. Rios
representing the Ben Floyd Chapter 11 Trustee and then were
shared with all defense counsel.

THE COURT: Okay.

MS. MCCLURE: That is correct. So, those are
documents produced by the plaintiff.

THE COURT: So Mr. Singer, let me go back to you for
a minute. This sounds like a case of tinkers to evers to
chance. The documents went from Young Again Products, Inc. to
Mr. Rios, attorney for the Trustee, who turned around and gave
them to you. It looks like the documents that Young Again
Products provided to Mr. Rios were not included in the package
of documents that Young Again Products provided directly to Mr.
Accord and the other defendants.

So, my question to you is: Does that now matter? As
long -- I mean, if Young Again Products had sent those
documents, you know, in a package to Mr. Rios and the same set
of documents in a package to you all, over and above the
documents that they in fact sent, is there any difference
between that scenario and the scenario that actually took
place, which is Young Again Products sent these documents to
Mr. Rios who turned around and gave them to you?

MR. SINGER: Your Honor, I’m not sure if I follow

 

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what you’re asking, but my response is that the documents
Supplied to Mr. Rios were in response to his inquiries, which
were different inquiries, different requests than Mr. Accord
made, and that in truth we’re dealing with two different sets
of production. In the case of Mr. Rios, I presume it was a
fairly forthcoming production.

In the case of the request for production that Mr.
Accord filed that were responded to back on May 16°, the
problem there is that the responses were not complete and not
responsive. And then of course, the issue of the privilege
log, which we have questicns about.

THE COURT: We’ll get to the privilege log. Right
now what I’m trying to sift through my brain, Mr. Singer, is
are you saying that Young Again Products should have sent --
that whatever Package they gave Mr. Rios that an exact same
package should have been given to the defendants?

MR. SINGER: No.

THE COURT: No.

MR. SINGER: No, your Honor.

THE COURT: All right. So you’re not saying that
Young Again Products was acting in bad faith with that respect.
You’ re saying Young Again Products complied specifically with
Mr. Rios’ document production request and that you were able to
get copies of those documents from Mr. Rios?

MR. SINGER: Correct.

 

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THE COURT: Okay. Without serving him with
discovery?

MR. SINGER: Correct.

THE COURT: Okay. So the fundamental part of
whatever bad faith allegations you’ re making towards Young
Again Products is solely on the privilege log. You’re saying
that they are trying to keep out as privileged documents that
are really not privileged?

MR. SINGER: Well, based on the privilege log but
also on the fact that the discovery that was actually produced
was far short of what had been requested.

THE COURT: Let me try this on you then. Category
ones are documents that haven’t been produced to you because
they are described in the privilege log?

MR. SINGER: Correct.

THE COURT: And your argument is: ‘Hey, some or all
of those documents aren’t privileged; therefore, they should be
produced.’

Category twos are documents that are not actually
described in the privilege log and therefore are not being
claimed as privileged but which nevertheless have not been
turned over to you?

MR. SINGER: Yes, your Honor.

THE COURT: So you’re saying there is the bad faith

on behalf of Young Again Products because there are documents

 

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that they actually have that are not privileged that they
haven’t turned over?
MR. SINGER: Right.
THE COURT: Can you give me a description of any of
that category of documents?
MR. SINGER: Well, Mr. Accord, that was the analysis
that he was referring to, and we didn’t have it prepared to be
filed today but can we tender that to the Court?
THE COURT: Let me see what he’s talking about.
(Pause)

THE COURT: You can just give it to Ms. Attaway here.
(Mr. Singer provides the document to the Clerk)

THE COURT: Thanks.
(Pause - The Court reviews the document)

THE COURT: Okay. So right here it Says any -- These
are documents to be produced, document production request which
Mr. Accord sent to Young Again Products, is that right?

MR. SINGER: Yes, your Honor.

THE COURT: Okay. So the first one says ‘Any and all
documents referring or relating to the preparation and
transmission of any communication by yourself or anyone
associated with yourself and/or acting in your behalf related
to any communication sent to Robert Goobey (phonetic).

And then Mr. Accord writes here: ‘Mason only produced

documents previously attached to motions and complaints filed

 

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in this action and related actions in Maryland and Utah. No
other documents were produced. Accord can demonstrate that
Mason is concealing and refusing to produce documents based on
the attached communications between Goobey and Mason obtained
from Robert Goobey and other third parties.’

So in other words, am I right that Mr. Accord is
willing to take the stand under oath and give testimony to
demonstrate that Mr. Mason is concealing and refusing to
produce documents?

MR. ACCORD: Yes, certainly.

MR. SINGER: Stand up when you address the Court.

(Mr. Accord rises)

MR. ACCORD: Yes, I an.

THE COURT: All right.

And Mr. Accord, your answer would also be true with
respect to request number two, request number three, request
number four, request number five, request number Six, request
number seven, request number eight, request number nine,
request number ten, request number 11, request number 12,
request number 13, request number 14, and request number 15, is
that correct?

MR. ACCORD: That’s true, sir.

THE COURT: All right. How much time in a hearing do
you need? If you were to take the stand under oath and swear

and try to prove to me that Mr. Mason has concealed and refused

 

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to produce documents, how much court time do you need? Do you
need an hour? Two hours? Three hours? Four hours?

MR. ACCORD: . Gosh, I think -- I’ve got banker’s boxes
full of evidence, and then I have the exhibits.

THE COURT: Just answer my question. How many hours
do you need, do you estimate --

MR. ACCORD: I would --

THE COURT: -- for you to take the stand and give
testimony? Forget about any cross examination; just for you to
take the stand and give testimony?

MR. ACCORD: At least two hours, your Honor.

THE COURT: All right. Let me give this document
back to you.

(The Court returns the document to Mr. Accord)

THE COURT: Ms. McClure, you can go ahead and proceed
with any arguments.

MS. MCCLURE: Thank you, your Honor.

THE COURT: Let me ask first of all, or it may be
second now that I’ve already peppered you with some questions
that led me to have Mr. Accord respond.

Mr. Singer says that you provided no documents
showing financial harm to Young Again Products, Inc. Do you
agree with that?

MS. MCCLURE: No, absolutely not.

THE COURT: All right.

 

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MS. MCCLURE: We provided on May 16% four banker's
boxes, your Honor.
THE COURT: Okay.
MS. MCCLURE: Plus, we put -- we Spent an exorbitant
amount of time attaching all of our -- a lot of the financial

harm or damage to our proofs of claim, which are certainly
already of record with this Court. We have produced the

financial harm documents to John Accord, all defendants in this

case.

THE COURT: Are they Bate stamped?

MS. MCCLURE: I don't recall that they are.

THE COURT: Well, here’s what’s going to happen, Ms.
McClure.

MS. MCCLURE: Oh, yes, your Honor.

THE COURT: Okay.

MS. MCCLURE: I’m sorry; Mr. Rios confirms that they
are.

MR. RIOS: Your Honor, I’m not a hundred percent
certain but I do remember having a discussion with one Mr.
Freeman about Bate stamp numbers on the documents.

MS. MCCLURE: Right.

THE COURT: Okay. Well, what I want to avoid is
this: At trial for Mr. Accord or his counsel to stand up and
Say, ‘Your Honor, the financial -- the statement —- the

documents they want to get into evidence evidencing financial

 

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harm to the plaintiff, they didn’t produce them to us.’ And if
you’ve done discovery properly, you will have Bate stamped the
documents that are being marked as exhibits for me to admit or
not admit, and you’ll have kept track of what documents you
produced to the defendants.

And so if the documents are Bate stamped and you’ve
got transmittal letters showing that you delivered them or
Someone wants to testify that you delivered them, then you'll
be able to prove them up, but if they’ re not Bate stamped and
you can’t prove to me -- And let me say that’1l hurt you if
they’re not Bate stamped, then I won’t allow the decuments in
and you won’t be able to prove financial harm.

MS. MCCLURE: Absolutely.

THE COURT: All right.

MS. MCCLURE: Absolutely.

THE COURT: I just want to make that clear.

MS. MCCLURE: Absolutely.

THE COURT: Ail right. Mr. Singer, what Ms. McClure
is saying is that the documents are Bate Stamped and that they
have been turned over to you, which means that when they go to
prove up their case on financial harm, the documents are going
to be Bate stamped.

You’re going to have the booklet of documents that
are proposed to be exhibits prior to trial, and if they’ re not

Bate stamped, you can certainly raise an objection. If they

 

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are Bate stamped, then you can raise an objection but, you
know, the last time I checked, I think if you’ve got Bate
stamped documents and you’ve turned them over and the attorney
who has produced them takes the stand and says ‘I turned them
over and here is the Bate stamped log that I kept’, it’s very
tough to overcome that but, you know, I’1ll certainly give you a
chance to do that.

This case has constantly had document production
problems, and you know, I insisted that all the documents be
turned over. We’re going to go to the privilege log ina
minute. But when you tell me that you have no documents
showing financial harm, Ms. McClure is telling me you do; how
many cocuments are we talking about? Five? Five hundred? Do
we know?

MS. MCCLURE: I know we turned over four banker's
boxes full of documents.

THE COURT: Okay. Now those banker boxes full of
documents, are there documents in there showing financial harm?

MS. MCCLURE: Yes, your Honor.

THE COURT: Okay. Can you identify one or two of
them for me?

MS. MCCLURE: Attorney invoices from Utah, as an
example.

THE COURT: Ckay.

Mr. Singer, I mean that strikes me that if attorney’s

 

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invoices from Utah that show attorney’s fees had to be incurred
that that’s evidence of financial harn. Now, you can argue
whether that’s, you know, whether those fees are reasonable and
that kind of thing, but in terms of the documentation being
produced, that’s certainly one piece of documentary evidence.

MR. SINGER: I understand, your Honor.

THE COURT: Okay. I think you have to wait and see
what exhibit booklets you get.

MR. SINGER: I’m sorry; say that again, Judge.

THE COURT: I said, ‘I think you need to wait and see
what exhibit booklets you get’, and then you can look and say,
‘Okay, there’s a Bate stamped document that came in the boxes
that Ms. McClure sent.’

I know when I did discovery, if I sent you four boxes
of documents, they were ail Bate stamped and I had the exact
same four boxes of documents in my office with a transmittal
letter so that I could prove up, if I ever had to, that these
documents were delivered on this date and in this form. So, I
trust that’s what went on here and, you know, save and except
if you’re going to be arguing to me that Ms. McClure and her
co-counsel are flat-out lying to me, that they didn’t produce
the documents, I have to presume that the documents have been
produced if they’ re Bate stamoed and counsel has represented to
me that these Bate stamped documents have been produced.

MR. SINGER: Your Honor, not uncharacteristic of the

 

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way things have gone in this case, generally Mr. Accord says
that, and I can’t say personally but he indicates that the
documents were not Bate stamped. That’ll be one issue that
will be simple to establish.

THE COURT: I was going to say, that’s an easy one to
establish. They either were or they weren’t.

MR. SINGER: Probably the easiest one in this case.

THE COURT: Okay. So, all right; keep going, Ms.
McClure. Are there any other arguments you want to make?

MS. MCCLURE: Yes, your Honor. First of all, their
first counterclaim that they want to get in is a Rule 11 motion
per se, and of course they haven’t sent the 21-day letter, and
it’s certainly not proper in a countersuit. It’s --

THE COURT: iLet’s stop there.

Mr. Singer, are you aware of the Rule 11 counterclaim
that’s been filed?

MR. SINGER: Your Honor, honestly I --

THE COURT: Cr that’s proposed to be filed?

MR. SINGER: I was not aware of that, your Honor.

THE COURT: Ail right. Would you agree that with
respect to a 39011 claim that you have to give 21 days notice in
writing?

MR. SINGER: Yes, your Honor. Of course, on this
issue, and I couid be completely off base on this; my thinking

is that the threshold issue is whether the Court will permit or

 

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not permit the filing of the counterclaim. And then if there
are allegations -- this is just my take on this. If there are
allegations, causes of action asserted in that counterclaim,
whether it’s one or two or all of them, then those matters
could be addressed separately. But to me, the threshold issue
is whether the Court will permit the filing of the
counterclaim.

THE COURT: Well, at least on a 9011, I disagree with
you. For you to be able to seek leave of court to file a 9011,
you need to comply with the fundamental requirements of 9011,
and that’s including, among other things, giving written notice
and saying ‘You’ve got 21 days to clean this up, and if you
don’t, then I'll seek leave to file a 9011 counterclaim.’

So, since no 21-day notice appears to have been sent,
I think that’s one counterclaim that there’s no way I could
grant leave to allow because the conditions precedent haven’t
been met. Okay. Thanks, Mr. Singer.

Ms. McClure?

MS. MCCLURE: Yes, your Honor. The second cause of
action, your Honor, by John Accord is tortious interference
with a business and employment relationship. We have the first
to file court up in Maryland, defendants’ counterclaim with
jury demand. We attached to our opposition; that was filed in
John Accord’s -- in the Maryland case, in the District of

Maryland, Southern Division.

 

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John Accord is representing himself up in Maryland,
your Honor. He has been very litigious concerning that
tortious interference with business and employment relations.
That covers his second counterclaim, and --

THE COURT: In other words, what you’ re telling me,
let me make sure I understand, Ms. McClure. Are you telling me
that Mr. Accord already has a counterclaim of this type on file
in the pending Maryland District Court action?

MS. MCCLURE: Absolutely, and it’s a very active case
and it has not been -- that action has not been disposed of.

THE COURT: Mr. Singer, can you respond to that
argument?

MR. SINGER: Your Honor, the only thing I have to say
on that is that, as the Court knows, this is a very litigious
case here in Houston, and so much of what you, the Court, will
hear, the trier of fact will hear, is going to necessarily
involve other matters pending in other courts.

THE COURT: But if the same cause of action has
already been pending in the United States District Court for
the District of Maryland, am I not -- How to describe? --
trampling upon that Judge’s right to adjudicate a cause of
action that was pending before him or her before it was brought
to me?

MR. SINGER: I understand, your Honor.

THE COURT: I mean, I think I have the right -- At a

 

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minimum, I have the right to abstain from that, and I will. 1
mean, I don't think I should be getting involved in
adjudicating a matter that’s already been brought before a
different court and is pending. The fact that Mr. Accord may
be representing himself pro se up there I think is really
beside the point. I don't want to get in the business of
interfering with the claims being adjudicated by another court
that were filed in that court before they were filed in my
court.

Even though I may be hearing testimony in my court
about the causes of action that Young Again has brought against
these defendants and some of the testimony may overlap, I still
don’t want to be usurping the adjudication powers of the
Article Three Judge up in Maryland who’s actually been
adjudicating disputes among these parties before I came into
the picture.

So, with respect to that cause of action, I’m going
to deny the motion for leave because it’s already before
another court and I don't want to impinge upon that other
court’s adjudication powers.

All right. Ms. McClure, what’s next?

MS. MCCLURE: Next, your Honor, is the affirmative
defenses if you will in a proposed first amended answer. Your
Honor, certainly, and we filed our opposition that I know that

the Court has read, but res judicata and estoppel should have

 

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been pled early on. Even though Mr. Accord acts like he had
been pro se for a long time and didn’t know what he was doing,
he filed a general denial if you will back, I believe it was in
April of 2007, but he had a Mr. Williams as his attorney all
the way through October of 2007.

If we’re going to be going into any affirmative
defenses which should have been filed many, many moons ago,
your Honor, it would cause a delay in the trial because based
on due process, we would need to go into the discovery issues
concerning that, and I know --

THE COURT: What issues would you need to conduct on
discovery? I mean, if he’s claiming res judicata or collateral
estoppel, isn’t that due to issues that have already been tried
or claims that have already been adjudicated in the Utah and
Maryland matters?

(No audible response)

THE COURT: I mean, it seems to me, Ms. McClure, your
co-counsel is so well-versed in those causes of action that
they would know what issues have been actually litigated among
all the same parties or what claims have already been tried
among all the same parties. JI mean, I’m trying to noodle what
discovery --

MS. MCCLURE: Right.

THE COURT: -- would even need to be conducted. I

mean, no additional documents would need to be produced.

 

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You’ re certainly not going to depose Mr. Accord about res
judicata and collateral estoppel if you’ve got some judgment
from the Utah court or Maryland court that Says ‘X’ and Mr.
Accord says, ‘Aha, there’s the collateral estoppel’, then you
can tell me as a matter of law why that’s not true.

MS. MCCLURE: As long as we can keep, your Honor, Mr.
Accord from going into the things that are being litigated up
in Maryland as well as the Rule 11 situation. Certainly as far
as --

THE COURT: Well, let me just tell you I’ve already
ruled on Rule ll.

MS. MCCLURE: Okay.

THE COURT: I’m not going to allow -- I’m not going
to grant leave of court to allow him to prosecute a Rule 11.
The conditions precedent haven’t even been met.

MS. MCCLURE: Right.

THE COURT: I’m not going to allow leave of court to
allow him to file the counterclaim on tortious interference
because that one’s already pending up in Maryland.

MS. MCCLURE: Okay.

THE COURT: So that brings us down to can he claim
the affirmative defenses of collateral estoppel and res
judicata, and I’1i allow leave to amend that because I think
those principles of law don’t require any additional discovery.

And, if there’s some -- Frankly, if there’s some issue that the
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Maryland court or the Utah court has already tried and
adjudicated, where all the parties have been in those courts, I
don't want to be trying and adjudicating it again.

MS. MCCLURE: Right; I understand.

THE COURT: If it works to your client’s favor, then
fine, we’ll make that part of the record. If it works to Mr.
Accord’s favor, then we’ll make that part of the record, but I
certainly don’t want to be giving people a second bite at the
apple.

And so, I’1ll1 allow -- I’1ll grant the motion for leave
to allow the pleading of the affirmative defenses of collateral
estoppel and res judicata.

MS. MCCLURE: Okay.

THE COURT: All right.

MS. MCCLURE: Other than the fact, your Honor, he’s
coming into court at this late date. I mean, our pretrial
conference if you will is on July 10°,

THE COURT: I understand. But again, you know, if he
was coming in here saying, you know, the affirmative defense
of, pick one, you know, forgery, you know, where you had to
take depositions to see, that would be a totally different
story. But, you know, for the same reason I don't want to
allow the tortious interference suit to be brought in my court,
I don't want to be retrying issues that the Maryland court and

the Utah court have already decided.

 

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MS. MCCLURE: Absolutely.

THE COURT: As long as we’ve got the same parties and
those issues had to be necessarily decided, I have no clue --
Well, I have some clue I guess from seeing past judgments from
those courts, but I’m sure I don't have every order that either
of those courts have signed, but presumably, those can be
included as part of any exhibits. But I don't want to get in
the business of playing an appellate, you know, Article One
Judge plays appellate Judge -- appellate court for an Article
Three Judge in Utah and an Article Three Judge in Maryland.
That sounds great. I mean --

MS. MCCLURE: (Laughs) I understand.

THE COURT: -- I ought to have my head examined --

MS. MCCLURE: I appreciate that.

THE COURT: -- if I’m going to do that. And even if
it were two bankruptcy Judges in Maryland and Utah, I ought not
to be playing appellate judge on issues that have been actually
and necessarily litigated in those forums.

So I’il allow the motion for leave to amend to
expressly allow the affirmative defenses of collateral estoppel
and res judicata.

Ms. McClure, I’1ll ask you to draft an order for Mr.
Singer to sign as to form saying ‘A hearing was held for the
reasons set forth on the record.’

I grant in part and deny in part the motion for

 

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leave. It’s granted in part only insofar as it’s the
affirmative defenses of res judicata and collateral estoppel.
It’s denied in part with respect to any counterclaims that are
sought to be pled.

MS. MCCLURE: That’s fine with me, your Honor.

THE COURT: I’11 need that order within seven days.

MS. MCCLURE: 1/11 get it to you by tomorrow.

THE COURT: Okay. Mr. Singer, you’ll need to sign
off as to form, Mr. Singer.

MR. SINGER: Yes, your Honor.

THE COURT: All right.

Let’s go to this privilege log. Do you happen to
have the privilege log here?

MS. MCCLURE: I do not, your Honor.

THE COURT: Okay.

MS. MCCLURE: It’s been filed with the Court.

THE COURT: Can you tell me when?

MS. MCCLURE: It was May -- It should have been right
after May 16°,

THE COURT: Let me see if I can find it.

MR. SINGER: It was like three days. Three days,
your Honor.

THE COURT: Off the top of my head, I have to tell
you I don't remember seeing it, which doesn’t mean you didn’t

file it.

 

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